       Case 1:07-cr-00095-LJO Document 125 Filed 04/16/09 Page 1 of 2


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 4
 5   Attorney for Defendant
     FRANCISCO J. ORTIZ-PIEDRA
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                             EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA          )                CASE NO. 1:07-CR-00095-OWW
                                       )
11                                     )                STIPULATION TO CONTINUE
                      Plaintiff,       )                SENTENCING
12                                     )
           v.                          )
13                                     )
     FRANCISCO J. ORTIZ-PIEDRA         )
14                                     )
                      Defendant.       )
15   _________________________________)
16
            Defendant, FRANCISCO J. ORTIZ-PIEDRA, by and through his counsel of record,
17
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel of record, KAREN A. ESCOBAR, Assistant United States Attorney for
19
     the Eastern District of California, hereby stipulate that the sentencing in the above-referenced
20
     case currently scheduled for Monday, April 20, 2009, at 9:00 a.m. be continued to
21
     Tuesday, May 26, 2009 at 9:00 a.m. in the courtroom for the Honorable Oliver W.
22
     Wanger, District Judge.
23
     ///
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      Case 1:07-cr-00095-LJO Document 125 Filed 04/16/09 Page 2 of 2


 1   IT IS SO STIPULATED
                                               Respectfully submitted,
 2
 3
     Dated: 04-16-09                           /s/ Nicholas F. Reyes
 4                                             NICHOLAS F. REYES
                                               Attorney for Defendant
 5
 6
 7   IT IS SO STIPULATED
 8
 9   Dated: 04-16-09                           /s/ Karen A. Escobar
                                               KAREN A. ESCOBAR
10                                             Assistant U.S. Attorney
11   IT IS SO ORDERED.
12   Dated: April 16, 2009                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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